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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

MARK ANTHONY SOLIZ,                              §
                                                 §
       Appellant/Petitioner                      §
                                                 §
       v.                                        §
                                                 §          3:14-CV-4556-K
DIRECTOR, TDCJ.                                  §
                                                 §
                                                 §
       Appellee/Respondent                       §


                                   NOTICE OF APPEAL


       COMES NOW, MARK SOLIZ, and files this Notice of Appeal to the Fifth Circuit from

the judgment entered September 6, 2017. Doc. No. 31.

                                              /s/ Seth Kretzer
                                              ________________________________
                                              SETH H. KRETZER
                                              SBN: 24043764

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                               CERTIFICATE OF SERVICE

       I certify that on September 13, 2017, a copy of this document was served on all counsel

of record through filing on the ECF System.

                                        /s/ Seth Kretzer
                                       ________________________________
                                        SETH H. KRETZER
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